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UNITED STATES DISTRICT COURT

 

 

CENTRAL DISTRICT OF CALIFORNIA 0
CIVIL MINUTES - GENERAL
Case No. 2:16-cv-07322-CAS(MRWX) Date January 30, 2017
Title LISA MOLLICONE v. UNIVERSAL HANDICRAFT, INC. ET AL.

 

 

Present: The Honorable CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE

 

 

Connie Lee Laura Elias N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attomeys Present for Plaintiffs: Attorneys Present for Defendants:
Michael Houchin Nathan Dooley

Proceedings: DEFENDANT UNIVERSAL HANDICRAFT, INC.’S MOTION
TO DISMISS (Dkt. 28, filed December 30, 2016)

sPECIALLY APPEARING DEFENDANT sHAY sABAG
sEGEv’s MoTIoN To DISMISS (Dkt. 29, filed December 30,
2016)

I. INTRODUCTION

On September 29, 2016, plaintiff Lisa Mollicone filed a class action complaint
against Defendants Shay Sabag Segev and Universal Handicraft, Inc. (“UHI”), doing
business as Deep Sea Cosmetics and Adore Organic Innovations. Dkt. l.

On December 19, 2016, plaintiff filed a first amended complaint Dkt. 25
(“FAC”). As a result, on December 20, 2016, the Court denied defendants’ pending
motions to dismiss, dkts. 15, l7, as moot. Dkt. 26.

In the FAC, plaintiff asserts fifteen claims on behalf of herself and all others
similarly situated: (l) intentional fraud and deceit, pursuant to California Civil Code
§§ 1709-1711 “and similar state laws”; (2) fraud by omission and suppression of facts,
pursuant to California Civil Code § 1710(3) “and similar state laws”; (3) negligent
misrepresentation_; (4) rescission of purchase contracts based on &audulent inducement;
(5) rescission of purchase contracts based on illegality and violations of public policy;
(6) quasi-contract/unjust enrichment; (7) declaratory relief pursuant to 28 U.S.C_ §§
2201-2202_; (8) breach of express warranties_; (9) breach of the implied Warranty of
merchantability; (10) violations of the Magnuson-Moss Warranty Act, 15 U.S.C_ §§ 2301
et seg.; (l l) violations of the California Consumer Legal Remedies Act (“CLRA”), Cal.
Civ. Code §§ 1750 et seg.; (12) violations of California’s False Advertising LaW
(“FAL”), Cal. Civ. Code. §§ 17500 et seg.; (13) violations of California’s Unfair

 

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Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200 et seg.; (14) violations of
New Jersey’s Consumer Fraud Act (“CFA”), N.J.S.A. § 56:8-1 et seg.; and

(15) violations of New Jersey’s Truth-in-Consumer Contract Warranty and Notice Act
(“TCCWNA”), N.J. Stat. Ann. §§ 56:12-14-56:12-18. The gravamen of plaintiffs
claims is that defendants made false and misleading representations regarding the anti-
aging properties of cosmetic products that defendants manufacture, market, and sell.

On December 30, 2016, defendants filed the instant motions to dismiss plaintiff s
FAC. Dkts. 28 (“UHI MTD”), 29 (“Segev MTD”). On January 9, 2017, plaintiff filed
her oppositions to defendants’ motions to dismiss Dkts. 31 (“Opp’n to Segev”), 32
(“Opp’n to UHI”). On January l3, 2017, defendants filed their replies Dkts. 37 (“UHI
Reply”), 38 (“Segev Reply”).

Having carefully considered the parties’ arguments, the Court finds and concludes
as follows

II. BACKGROUND
Plaintiff alleges the following facts

UHI is a corporation that sells, distributes, manufactures, and advertises a line of
“super premium cosmetics” under the Adore Organic Innovation product line. FAC 1111 6,
23. Plaintiff contends that Segev is the president of UHI and, as the “alter ego” of UHI,
he “personally participated in, directed, and controlled the sales, distribution,
manufacturing, and advertising of the Adore Products.” I_d. 11 24. Plaintiff avers that
Segev was an agent of UHI and that UHI had actual or constructive knowledge of
Segev’s conduct. I_d. 11 114. Segev allegedly abused UHI’s organizational form to
accomplish the fraudulent promotion of UHI’s cosmetic products I_d. 11 ll7_ Plaintiff
alleges that Segev is an officer or director of “several alleged shell companies” and that
plaintiff can obtain evidentiary support, after a reasonable opportunity for further
investigation or discovery, showing that one or more of Segev’s shell entities
commingled funds or assets I_d. 1111 118-19. In addition, plaintiff alleges that, after a
reasonable opportunity for further investigation or discovery, plaintiff could show that:
(a) Segev diverted corporate funds from UHI, (b) Segev abused the corporate form for
personal gain_; (c) Segev treated individual or corporate assets as his own; (d) Segev
represented that he is personally liable for corporate debts; (e) Segev failed to maintain
adequate corporate minutes and records on behalf of UHI; (f) Segev intermingled his

 

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individual records with the corporate records of UHI and/or Segev’s shell entities;

(g) Segev has ownership of all 100 shares of stock that UHI has issued; (h) UHI is
inadequately capitalized; and (i) Segev has attempted to conceal the ownership of UHI.
I_d. 11 120-31. Plaintiff contends that Segev wholly owns UHI and dominates the
corporation to the extent that the independence of UHI is a sham and there is a unity of
interest and ownership between Segev and UHI. I_d. 1111 132-33. Plaintiff also avers that
Segev actually participated in the unlawfial conduct plaintiff alleges in her complaint, and
is therefore personally liable for all such conduct I_d. 11 135.

Defendants advertise their Adore Organic Innovation line as containing a “proven
Plant Stem Cell formula . . . to enable your skin’s own stem cells to renew and slow the
aging process.” I_d. 11 6. The Adore Organic Innovation line includes CELLMAX
Products_including a cream, serum, and mask, sold together as a CELLMAX Kit_that
are touted as “proven to restore youthful appearance[.]” I_d. 1111 7-8. Defendants
manufacture, market, and distribute at least 22 products that are substantially similar to
the CELLMAX products because they contain the same types of “plant stem cells” and
use almost identical labeling I_d. 11 9. Plaintiff refers to the CELLMAX products and
substantially similar products as the “Adore Products.” I_d.

According to plaintiff, defendants engaged in a “uniform marketing and
advertising campaign designed to convince consumers that its Adore Organic Innovation
Products are scientifically and clinically proven to provide consumers with dramatic anti-
aging results.” I_d. 11 30. Plaintiff alleges that defendants’ representations regarding the
anti-aging effects of their products are false and misleading because the products neither
“halt the aging process” nor are they “proven to store youthful appearance.” Ld. 11 l2.
Citing several statements from the Adore website, YouTube videos, and social media
posts, plaintiffs assert that defendants’ anti-aging claims are purportedly backed by
scientific research I_d. 1111 33-40. In addition, defendants provide a brochure, entitled
“Adore Organic Innovation Science - Stem Cell Technology,” in which defendants
assert, inter alia, that “researchers” have concluded that “plant stem cells [could] be used
to protect human skin stem cells[,]” and that “[e]Xtensive studies have shown that Plant
Stem Cell formula [sic] increases the vitality and efficiency of all essential skin cells[.]”
Ld. 1111 42-44.

The plant stem cells that defendants use in their products are manufactured by
Mibelle Biochemistry ( ‘Mibelle”) I_d. 11 12. The plant stem cells are a proprietary
ingredient called “PhytoCellTecTM .I_d. According to Mibelle s research director the

 

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anti-aging benefit of the plant stem cells “could not be confirmed at clinical trial.” I_d.
11 l4. Plaintiff also cites statements from academics, doctors, and industry professionals
who state that plant stem cells like those in the Adore Products cannot provide anti-aging

benefits I_d. 1111 52-60.

In addition, plaintiff alleges that Mibelle’s process for preparing the plant stem
cells results in “pulverized” plant stem cells that are no longer living and cannot possibly
enable skin stem cells to renew. I_d- ll1l 16-17, 63-68. As a result, “representations that
the Adore Products somehow contain ‘Plant Stem Cells’ that can interact with human
stern cells to provide anti-aging benefits are patently false. I_d. 11 69.

Plaintiff alleges that the Adore Products are being sold unlawfully because the U.S.
Food and Drug Administration (“FDA”) has warned marketers of cosmetic products
containing PhytoCellTec that their products were considered “Unapproved New Drug[s]”
in violation of the Food, Drug, and Cosmetics Act(“FDCA”). I_d. 1111 18, 82. The FDA
has sent two warning letters to manufacturers of similar cosmetic products containing the
active ingredient PhytoCellTec. I_d. 1111 70-71. Plaintiff alleges that the Adore Products
constitute “drugs” under the FDCA, 21 U.S.C_ § 32l(g). FAC 11 79. Plaintiff further
contends that defendants’ “stem cell” and “skin regeneration” claims are false and
misleading, and therefore defendants’ products are “misbranded” under the FDCA, 21
U.S.C_ §§ 352(a) and 362(a), California’s Sherman Law, Cal. Health & Safety Code
§§ l l 1330, 111730, and New Jersey regulations I_d. 1111 80-81. As both cosmetics and
drugs, plaintiff contends that the Adore Products are also misbranded because defendants
fail to identify the products’ active ingredients Ld. 11 83.

Plaintiff alleges that defendants’ Adore Products are misleading because
defendants have copied the advertising ideas and style of the J’Adore product like by
Christian Dior. I_d. 1111 84, 89. Defendants are purportedly targeting consumers who are
familiar with and customers of products offered under Dior’s J’Adore brands, which
likely misleads reasonable consumers Ld. 1111 84, 88, 89.

Plaintiff alleges that the labels that defendants use on their CELLMAX products,
along with material on defendants’ website, create express and implied warranties on

which plaintiff has relied. I_d. 11 92. For example, the label of the CELLMAX Superior
Facial Thermal Mask states:

 

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Treat your skin to the most advanced anti-aging science available today with
CELLMAX Superior Facial Thermal Mask from Adore Organic Innovation.
This unique self-heating mask not only smoothes deep lines and wrinkles but
also encourages your skin to renew itself. As it gently warms to the touch,
the mask prepares your skin to absorb our highest concentration of
breakthrough anti-aging Plant Stem Cell formula. We enrich this anti-aging
nutrient with extracts of chamomile, linden blossom and other all-natural
ingredients to promote smooth skin texture. Vitamin E revives skin’s
appearance, leaving it fresh, clean and vibrant, while promoting youthful
elasticity. All combined, it gives you phenomenal anti-aging action that
helps reduce the look of wrinkles in moments while encouraging your skin
to respond naturally by amplifying collagen levels that help restore youthful
tone.

Ld. 11 93. Plaintiff includes similar language used on the labels of the CELLMAX facial
cream and serum, along with the CELLMAX kit. I_d. 1111 91-100. Plaintiff alleges that
she read and relied on the quoted representations and warranties in deciding to purchase
the CELLMAX kit. I_d. 11 lOl. Plaintiff further alleges that defendants make substantially
similar representations and warranties regarding the efficacy of plant stem cells in 22
other products under the Adore Organic Innovation product line. I_d. 11 102; § § 11 103
(identifying products and quoting excerpts that describe them). Plaintiff alleges, on
information and belief, that each of the 22 similar products contains PhytoCellTec. I_d.

11 104.

In or around June 2014, plaintiff purchased the CELLMAX kit from a store located
in Beverly Hills, California. I_d. 1111 105-105. Plaintiff alleges that she purchased the kit
in reliance on the representations and warranties made on the product packaging and
defendants’ website, including that the plant stem cells would provide anti-aging benefits
I_d. 1111 106, 108. Plaintiff contends that she purchased additional products that were
substantially similar to the CELLMAX products, including the Adore Essence Facial
Peeling Gel, the Adore Dreams Multi-Active Night Cream, and the Adore Essence Facial
Detoxifying Cream Cleanser. I_d. 11 107. Plaintiff avers that defendants’ business records
will reveal the exact products that plaintiff purchased that are substantially similar to the
CELLMAX products Ld. Plaintiff paid approximately $1,000 for her purchases of
Adore Products I_d. ll 109.

 

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Plaintiff contends that she would not have purchased the Adore Products, or would
only have been willing to pay “significantly less” for them, had she known that the
products did not provide the touted ami-aging benefits I_d. 1111 20, 109. Nevertheless,
plaintiff also alleges that she “would consider purchasing the Adore Products again,” if
they provided the claimed anti-aging benefits and if defendants disclosed to material facts
about the products Plaintiff further asserts that she “may once again purchase the adore
products if they were labeled truthfully and in a manner not likely to mislead reasonable
consumers_” I_d. 11 110.

Plaintiff avers that defendants were constructively and actually aware that their
products were ineffective for their advertised use, yet defendants continued to sell the
Adore Products I_d. 11 112. Therefore, plaintiffs contend that defendants knowingly
concealed from consumers the fact that the Adore Products were not effective at
providing the advertised anti-aging benefits I_d.

III. LEGAL STANDARDS

Defendants move to dismiss plaintiffs complaint pursuant to Federal Rules of
Civil Procedure 12 (b)(5), 12(b)(l), and l2(b)(6).

A. Rule 12(b)(5)

Federal Rule of Civil Procedure Rule l2(b)(5) authorizes a defendant to move for
dismissal due to insufficient service of process § Fed. R. Civ. P. 12(b)(5). “A federal
court does not have jurisdiction over a defendant unless the defendant has been served
properly [with the summons and complaint] under Fed.R.Civ.P. 4.” Direct Mail
Specialists= Inc. v. Eclat Computerized Technologies, 840 F.2d 685, 688 (9th Cir. 1988)
(citation and quotation marks omitted); see also Miss. Publ’g Co;p. v. Mu;phree, 326
U.S. 439, 444-45 (1946) (“[S]ervice of summons is the procedure by which a court
having venue and jurisdiction of the subject matter of the suit asserts jurisdiction over the
person of the party served.”). Federal Rule of Procedure 4 provides that a summons
must: “(A) name the court and the parties_; (B) be directed to the defendant_; (C) state the
name and address of the plaintiffs attorney or_if unrepresented_of the plaintiff;

(D) state the time within which the defendant must appear and defend; (E) notify the
defendant that a failure to appear and defend will result in a default judgment against the
defendant for the relief demanded in the complaint; (F) be signed by the clerk; and

(G) bear the court’s seal.” Fed. R. Civ. P. 4(a). Rule 4 further provides that, to obtain a

 

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summons, “[o]n or after filing the complaint, the plaintiff may present a summons to the
clerk for signature and seal. If the summons is properly completed, the clerk must sign,
seal, and issue it to the plaintiff for service on the defendant A summons_or a copy of a
summons that is addressed to multiple defendants_must be issued for each defendant to
be served.” Fed. R. Civ. P. 4(b). “Rule 4 is a flexible rule that should be liberally
construed so long as a party receives sufficient notice of the complaint Nonetheless,
without substantial compliance with Rule 4 neither actual notice nor simply naming the
defendant in the complaint will provide personal jurisdiction.” Direct Mail Specialists,
840 F.2d at 688 (citation and quotation marks ornitted).

Once service of process is challenged, the “plaintiff[ ] bear[s] the burden of
establishing that service was valid.” Brockmeyer v. May, 383 F.3d 798, 801 (9th Cir.
2004). If the plaintiff is unable to satisfy its burden of demonstrating effective service,
the court has discretion to either dismiss or retain the action. § Stevens v. Sec. Pac.
Nat’l Bank, 538 F.2d 1387, 1389 (9th Cir. 1976).

B. Rule 12(b)(1)

A motion pursuant to F ederal Rule of Civil Procedure Rule 12(b)(1) motion tests
whether the court has subject matter jurisdiction to hear the claims alleged in the
complaint Fed. R. Civ. P. l2(b)(l). Such a motion may be “facial” or “factual.” Sa_fe
Air for Everyone v. Mever, 373 F.3d 1035, 1039 (9th Cir. 2004). That is, a party
mounting a Rule 12(b)(1) challenge to the court’s jurisdiction may do so either on the
face of the pleadings or by presenting extrinsic evidence for the court’s consideration
D White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000)_; Thornhill Publishing co. v.
General Tel. & Electronics, 594 F.2d 730, 733 (9th Cir. 1979).

 

If the plaintiff lacks standing under Article III of the U.S. Constitution, then the
court lacks subject matter jurisdiction, and the case must be dismissed § Steel Co. v.
Citizens for a Better Env’t, 523 U.S. 83, 101-02 (1998). “Standing is a threshold matter
central to our subject matter jurisdiction.” Bates v. United Parcel Service Inc., 511 F.3d
974, 985 (9th Cir. 2007)_ “In essence the question of standing is whether the litigant is
entitled to have the court decide the merits of the dispute or of particular issues.” Warth
v. Seldin, 422 U.S. 490, 498 (1975). From a constitutional standpoint, standing addresses
the question of whether the plaintiff has made out a case or controversy between himself
and the defendant I_d. A plaintiff must demonstrate three elements that constitute the
“irreducible minimum” of Article III standing:

 

 

 

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First, the plaintiff must have suffered an “injury in fact”_an invasion of a
legally protected interest which is (a) concrete and particularized, and

(b) actual or imminent, not conjectural or hypothetical Second, there must
be a causal connection between the injury and the conduct complained of_
the injury has to be fairly . . . trace[able] to the challenged action of the
defendant and not . . . th[e] result [of] the independent action of some third
party not before the court Third, it must be likely, as opposed to merely
speculative, that the injury will be redressed by a favorable decision.

Luian v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (citations and quotation marks
ornitted). “Past exposure to harmful or illegal conduct does not necessarily confer
standing to seek injunctive relief if the plaintiff does not continue to suffer adverse
effects.” Mavfield v. United States, 599 F.3d 964, 970 (9th Cir. 2010). A plaintiff is
only entitled to injunctive relief if she can demonstrate a “real or immediate threat” that

she will be subject to the alleged illegal conduct again Citv of Los Angeles v. Lvons.
461 U.S. 95, 96 (1983).

C. Rule 12(b)(6)

A motion pursuant to F ederal Rule of Civil Procedure 12(b)(6) tests the legal
sufficiency of the claims asserted in a complaint Under this Rule, a district court
properly dismisses a claim if “there is a ‘lack of a cognizable legal theory or the absence
of sufficient facts alleged under a cognizable legal theory.”’ Conservation Force v.
Salazar, 646 F.3d 1240, 1242 (9th Cir. 2011) (quoting Balisteri v. Pacifica Police Dep’t,
901 F.2d 696, 699 (9th Cir. 1988)). “While a complaint attacked by a Rule 12(b)(6)
motion to dismiss does not need detailed factual allegations, a plaintiffs obligation to
provide the ‘grounds’ of his ‘entitlement to relief requires more than labels and
conclusions, and a formulaic recitation of the elements of a cause of action will not do.”
Bell Atlantic Corp. v. Twomblv, 550 U.S. 544, 555 (2007). “[F]actual allegations must
be enough to raise a right to relief above the speculative level.” I_d.

 

In considering a motion pursuant to Rule l2(b)(6), a court must accept as true all
material allegations in the complaint as well as all reasonable inferences to be drawn
from them. Pareto v. FDIC, 139 F.3d 696, 699 (9th Cir. 1998). The complaint must be
read in the light most favorable to the nonmoving party. Sprewell v. Golden State
Warriors, 266 F.3d 979, 988 (9th Cir. 2001). However, “a court considering a motion to
dismiss can choose to begin by identifying pleadings that, because they are no more than

 

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conclusions, are not entitled to the assumption of truth. While legal conclusions can
provide the framework of a complaint, they must be supported by factual allegations.”
Ashcroft v. Igbal, 556 U.S. 662, 679 (2009); see Moss v. United States Secret Service,
572 F.3d 962, 969 (9th Cir. 2009) (“[F]or a complaint to survive a motion to dismiss, the
non-conclusory ‘factual content,’ and reasonable inferences from that content, must be
plausibly suggestive of a claim entitling the plaintiff to relief.”). Ultimately,
“[d]etermining whether a complaint states a plausible claim for relief will . . . be a
context-specific task that requires the reviewing court to draw on its judicial experience
and common sense.” M, 556 U.S. at 679.

Unless a court converts a Rule 12(b)(6) motion into a motion for summary
judgment, a court cannot consider material outside of the complaint (e.g., facts presented
in briefs, affidavits, or discovery materials). In re American Cont’l Corr)./Lincoln Sav. &
Loan Sec. Litig., 102 F.3d 1524, 1537 (9th Cir. 1996), rev’d on other grounds sub nom
Lexecon, Inc. v. Milberg Weiss Bershad anes & Lerach, 523 U.S. 26 (1998). A court
may, however, consider exhibits submitted with or alleged in the complaint and matters
that may be judicially noticed pursuant to Federal Rule of Evidence 201. In re Silicon
Graphics Inc. Sec. Litig., 183 F.3d 970, 986 (9th Cir. 1999); Lee v. Citv of Los AngQ,
250 F.3d 668, 689 (9th Cir. 2001).

Federal Rule of Civil Procedure 8(a) provides that a pleading stating a claim for
relief must contain “a short and plain statement of the claim showing that the pleader is
entitled to relief.” Fed. R. Civ. P. 8(a)(2). In order to meet this standard, a claim for
relief must be stated with “brevity, conciseness, and clarity.” § Charles A. Wright &
Arthur R. Miller, 5 Fed. Practice and Procedure § 1215 (3d ed.). “The Plaintiff must
allege with at least some degree of particularity overt acts which Defendants engaged in
that support the Plaintiff s claim.” J ones v. Community Redevelopment Agency, 733
F.2d 646, 649 (9th Cir. 1984). The purpose of Rule 8(a) is to ensure that a complaint
“fully sets forth who is being sued, for what relief, and on what theory, with enough
detail to guide discovery.” McHegg v. Renne, 84 F.3d 1172, 1177 (9th Cir. 1996).

IV. DISCUSSION

A. Segev’s Motion to Dismiss

Segev, appearing specially, seeks to dismiss plaintiffs FAC against him on the
basis of insufficient service of process Segev MTD at 5. Segev first argues that plaintiff

 

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failed to seek the issuance of a summons directed to Segev. Indeed, the has Court issued
only one summons in this case, which is addressed to UHI. w dkt 9. The summons
was issued on October 4, 2016 as docket number 9. I_d As a result, Segev argues that he
could not have been validly served Plaintiff attempted to serve Segev through delivery
of a summons and the complaint upon Vi Sorrentino, an individual whom the process
server designated as Segev’s employee. w dkt 13. However, Sorrentino has stated that
she is not employed by Segev and did not represent to the process server that she was
MTD at 8; g dkt 29-2 (“Sorrentino Decl.”). Therefore, Segev argues that plaintiffs
purported service on him was improper. MTD at 8. In addition, the summons that
Sorrentino received (and which she submits as an attachment to her declaration) purports
to be the Court’s October 4, 2016 summons Sorrentino Decl., Ex. A_ Notably, the
summons that Sorrentino received has Segev’s name and address in place of UHI’s
information I_d Therefore, Segev argues that plaintiff altered the October 4, 2016
summons before delivering it to Sorrentino. MTD at 8. The proof of service on Segev
that plaintiff actually filed with the Court on November 28, 2016 is not the altered
version Dkt. 13.

The Court concludes that plaintiff has failed to serve Segev properly because she
has not obtained a summons for Segev, as is required by Federal Rule of Civil Procedure
4. E Fed R. Civ. P. 4(b) (“A summons-or a copy of a summons that is addressed to
multiple defendants_must be issued for each defendant to be served.” (emphasis
added)). Plaintiff argues that Segev has waived his right to challenge this court’s
jurisdiction because (a) Segev’s attorney filed a pro hac vice motion to appear on behalf
of UHI; and (b) Segev’s counsel’s consented to participate in a Rule 26(f) conference in
the future. Opp’n to Segev at 10-12. However, neither action taken by Segev’s counsel
constitutes a “responsive pleading” that would effectuate a waiver under Rule 12(h)(1).
See Freenev v. Bank of Am. Corp., No. 15-cv-02376-MMM-PIW, 2015 WL 4366439, at
*20 (C.D. Cal. July 16, 2015) (“[A] counsels’ filing of initial appearances or motions for
admission pro hac vice are not the defensive moves in which a waiver of personal
jurisdiction can occur.” (quotation marks omitted)). As a result, the Court GRANTS
Segev’s motion to dismiss the FAC and DISMISSES plaintiffs claims against Segev
without prejudice1

 

 

1 Segev contends that plaintiff failed to provide him with the requisite notice of
plaintiffs CLRA claim and, therefore, plaintiffs CLRA claim against him should be
dismissed with prejudice Segev MTD at 22-23. California Civil Code § 1782 requires

 

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B. UHI’s Motion to Dismiss
1. Standing to Pursue Injunctive Relief

Plaintiff seeks injunctive relief with respect to her declaratory relief claims and her
claims pursuant to the CLRA, the FAL, the UCL, and New Jersey’s Consumer Fraud Act
B FAC 1111 248, 256, 274, 283. UHI argues that plaintiff lacks standing to seek
injunctive relief because she has failed to demonstrate that she is threatened with a
concrete and particularized injury. UHI MTD 4-5. According to UHI, in false and
misleading advertising cases, there is no likelihood of future injury because plaintiff now
knows that the product at issue does not work or perform as advertised I_d at 5.

To establish Article III standing with respect to injunctive relief, a plaintiff must
show “a sufficient likelihood that [he or she] will again be wronged in a similar way.”
Bates v. United Parcel Serv., Inc., 511 F.3d 974, 985 (9th Cir. 2007) (quotation marks
omitted)_ ln cases of misleading advertising, “[t]here is a split in the Ninth Circuit on”
whether a plaintiff can establish the requisite threat of future injury in order to have
standing to seek injunctive relief Spann v. J.C. Pennev Corp., No. 12-cv-0215-FMO,
2015 WL 1526559, at *11 (C.D. Cal. Mar. 23, 2015); Anderson v. Seaworld Parks &
Entm’t Inc., No. 15-cv-02172-JSW, 2016 WL 4076097, at *6 (N.D. Cal. Aug. 1, 2016)
(“The Ninth Circuit has not ruled on the issue of what is necessary to allege standing for

 

 

that at least thirty days “prior to the commencement of an action for damages,” the
consumer “shall” notify the alleged offender of the particular alleged violations and
demand that the person “correct, repair, replace, or otherwise rectify the goods or services
alleged to be in violation” of the CLRA. Cal. Civil Code § 1782(a)(1)-(2). The notice
“shall be in writing and shall be sent by certified or registered mail, return receipt
requested” I_d Segev is correct that, ordinarily, “these procedural requirements are
strictly adhered to by dismissing a claim with prejudice” Davis v. Chase Ban_k U.S.A.,
N._A., 650 F. Supp. 2d 1073, 1089 (C.D. Cal. 2009). However, the Court concludes that
dismissal with prejudice would be premature at this stage because Segev has not been
properly served In any event, the Court has reviewed the CLRA notice letter that
plaintiff sent to defendants, § dkt 25-21, Compl. Ex. 21, and it appears that plaintiff
has substantially complied with her CLRA notice obligation with respect to Segev and
UHI. Accordingly, the Court declines to dismiss plaintiff s CLRA claim against Segev
with prejudice

 

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prospective injunctive relief in a case involving misleading advertising”). As the court
in Spann described:

In some cases, courts have denied standing to seek an injunction for
consumers who have been deceived by false advertising based on the notion
that the consumer’s knowledge makes it unlikely that they will be deceived
again See, eg, Castagnola v. Hewlett-Packard Co., 2012 WL 2159385, *6
(N.D. Cal. 2012) (plaintiffs lacked standing because they “now have
knowledge of the terms and conditions of the program.”); Laster v_ T-
Mobile USA Inc. 2009 WL 4842801, *3-4 (S.D. Cal. 2009) (plaintiffs
lacked standing because they “now know Defendants will seek sales tax
reimbursement on any bundled wireless phone purchase . . . Plaintiffs’
knowledge precludes them from showing likelihood of future injury.”).

 

 

In other cases, such as Henderson v_ Gruma Corn., 2011 WL 1362188 (C.D.
Cal. 2011), courts have found standing because it would prevent federal
courts from enjoining false advertising under California’s consumer
protection laws

Spann, 2015 WL 1526559, at *11_12.

In Henderson, the class representatives alleged that the labeling on foods that they
had purchased was misleading Henderson v. Gruma Corp., No. 10-cv-04173-AHM-
AJW, 2011 WL 1362188, at *1 (C.D. Cal. Apr. 11, 2011). The court recognized that
“Plaintiffs may not purchase the same [] products as they purchased during the class
period, because they are now aware of the true content of the products[.]” I_d at *8.
Nonetheless, the court concluded that “to prevent [such plaintiffs] from bringing suit on
behalf of a class in federal court would surely thwart the objective of California’s
consumer protection laws.” I_d at *8. The objective of California’s consumer protection
laws “is to protect both consumers and competitors by promoting fair competition in
commercial markets for goods and services” Kwikset Corp. v. Sunerior Court, 246 P.3d
877, 883 (Cal. 2011). The Henderson court reasoned:

 

Defendant has not presented evidence or even alleged that it has removed its
allegedly misleading advertising from its products With such advertising
remaining on supermarket shelves, Plaintiffs, as representatives of a class,
should be entitled to pursue injunctive relief on behalf of all consumers in
order to protect consumers from Defendant’s alleged false advertising

 

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2011 WL 1362188, at *8. While the Court recognizes that some district courts in this
Circuit have declined to adopt this approach, see, e.g, Mason v. Nature’s Innovation
L, No. 12-cv-3019-BTM-DHB, 2013 WL 1969957, at *3-4 (S.D. Cal. May 13, 2013)
(declining to follow Henderson on the basis that it does not square with Article III), the
Court finds the reasoning of Henderson more persuasive “[W]ere the Court to accept the
suggestion that plaintiff[’s] mere recognition of the alleged deception operates to defeat
standing for an injunction, then injunctive relief would never be available in false
advertising cases, a wholly unrealistic result” Ries v. Arizona Beverages USA LLC, 287
F.R.D. 523, 533 (N.D. Cal. 2012); see also Koehler v. Litehouse, Inc., No. 12-cv-04055-
SI, 2012 WL 6217635, at *6 (N.D. Cal. Dec. 13, 2012) (“The Court agrees with
Henderson To do otherwise would eviscerate the intent of the California legislature in
creating consumer protection statutes because it would effectively bar any consumer who
avoids the offending product from seeking injunctive relief.”); Cabral v. SuDDle, LLC,
No. 12-cv-85-MWF, 2012 WL 4343867, at *2 (C.D. Cal. Sept 19, 2012) (finding
Henderson persuasive and finding the defendant’s argument “premature at this stage of
the litigation”); Dean v. Colgate-Palmolive Co., No. 15-cv-0107-JGB, 2015 WL
3999313, at *8 (C.D. Cal. June 17, 2015) (adopting the analysis set forth in Henderson);
Larsen v. Tra_der Joe’s Co., No. 11-cv-05188 SI, 2012 WL 5458396, at *4 (N.D. Cal.
June 14, 2012) (same). The Court therefore concludes that plaintiff has adequately
pleaded that she has Article III standing to seek injunctive relief.

 

 

 

Accordingly, the Court DENIES UHI’s motion to dismiss plaintiffs claims for
injunctive relief.

2. Plaintiff’s Standing to Assert Claims Regarding Products She Did
Not Buy

UHI argues that plaintiff lacks standing to represent class members who purchased
products that plaintiff did not actually purchase UHI MTD at 7.

“[D]istrict courts in this circuit have diverged on the issue of whether a plaintiff
has standing to bring claims on behalf of consumers who purchased similar, but not
identical products.” Anderson v. Jamba Juice Co., 888 F. Supp. 2d 1000, 1005 (N.D.
Cal. 2012); see also Branca v. Nordstrom, Inc., No. 14-cv-2062-1\/11\/1A-JMA, 2015 WL
10436858, at *4 (S.D. Cal. Oct_ 9, 2015) (noting that “there is no controlling authority”
on the question of whether a plaintiff has standing to allege claims under the FAL,
CLRA, and UCL based on products he did not purchase).

 

 

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Some federal courts have held, as a matter of law, that a plaintiff lacks
standing to assert such claims Other courts have held that the standing
inquiry is more appropriately resolved on a motion for class certification
The majority of the courts that have carefully analyzed the question hold that
a plaintiff may have standing to assert claims for unnamed class members
based on products he or she did not purchase so long as the products and
alleged misrepresentations are substantially similar.

Miller v. Ghirardelli Chocolate Co., 912 F. Supp. 2d 861, 869 (N.D. Cal. 2012). Other
courts have concluded that the majority approach is to resolve the question on a motion
for class certification See, e.g., Bruno v. Outen Research Inst., LLC, 280 F.R.D. 524,
530 (C.D. Cal. 2011) (Carter, J.) (“The Court agrees with Plaintiff that treatises and the
vast majority of persuasive authority indicate that Defendants’ legal argument is flawed
District courts in California routinely hold that the issue of whether a class representative
may be allowed to present claims on behalf of others who have similar, but not identical,
interests depends not on standing, but on an assessment of typicality and adequacy of
representation” (quotation marks omitted)).

 

The Court is persuaded by the line of authority concluding that a “[p]laintiff s
ability to represent class members injured by similar products should be analyzed under
Rule 23, not on a motion to dismiss” Aguilar v. Boulder Brands= Inc., No. 12-cv-01862-
BTM-BGS, 2013 WL 2481549, at *3 (S.D. Cal. June 10, 2013); see also Cardenas v.
NBTY Inc., 870 F. Supp. 2d 984, 992 (E.D. Cal. 2012); Allen v. Similasan Corp., No.
12-cv-0376-BTM-WMC, 2013 WL 2120825, at *4 (S.D. Cal. May 14, 2013); Koh v.
S.C. Johnson & Son, Inc., No_ 09-cv-00927-RMW, 2010 WL 94265, at *3 (N.D. Cal.

J an 6, 2010). Whether the products plaintiff did not purchase are substantially similar to
those that she did purchase is a fact-intensive inquiry that is not appropriate at this stage

 

 

Furthermore, reading the FAC in a light most favorable to plaintiff, plaintiff has
pleaded with sufficient particularity that the products she did not purchase are
substantially similar to those that she did purchase, such that plaintiff satisfies the
heightened pleading requirement imposed for claims sounding in fraud § Fed. R. Civ.
P. 9(b)_ Plaintiff alleges that she purchased the CELLMAX kit, which includes a facial
cream, serum, and mask that purport to contain plant stem cells and offer anti-aging
benefits FAC 1111 93-100. Plaintiff also avers that she purchased the Adore Essence
Facial Peeling Gel (“Gel”), the Adore Dreams Multi-Active Night Cream (“Night
Cream”), and the Adore Essence Facial Detoxifying Cream Cleanser (“Cream Cleanser”).

 

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I_d 11 107. Plaintiff alleges that defendants manufacture, market, and distribute 22
products under the Adore Organic Innovation line that also purport to contain plant stem
cells and offer anti-aging benefits I_d 1111 102-03. The Gel, Night Cream, and Cream
Cleanser are among the 22 products listed I_d 11 103. For each of the 22 products
plaintiff identifies, she quotes language from defendants’ representations regarding the
“Plant Stem Cell fonnula” and its anti-aging benefits I_d; c_f Smedt v. Hain Celestial
Gm., Inc., No. 5:12-cv-03029-E.TD, 2014 WL 2466881, at *7 (N.D. Cal. May 30, 2014)
(“[T]here is nothing in the SAC regarding the products’ respective ingredients or
packaging showing how the unpurchased products are substantially similar to the
purchased products Therefore, this Court cannot determine from the pleadings whether
the named products are, in fact, substantially similar to the purchased products” (citation
omitted)).

 

Accordingly, the Court DENIES UHI’s motion to dismiss plaintiffs claims
pertaining to any product other than the CELLMAX kit

3. Plaintiff"s Standing to Assert Claims Based on the Law of States
Outside California and New Jersey

Plaintiff is a resident of New Jersey and alleges that she purchased the Adore
Products while visiting California. FAC 11 105. Plaintiff seeks redress under “similar
state laws” with respect to her claim for intention fraud and deceit (Claim 1) and for fraud
by omissions/suppression of facts (Claim 2). § at 43, 45. With respect to plaintiffs
claim under the MMWA (Claim 10), plaintiff seeks relief on behalf of the Multi-State
Warranty Class, § at 56, which includes “[a]ll persons in California, Delaware, the
District of Columbia, Kansas, Missouri, New Jersey, Ohio, Utah, and West Virginia who
purchased the Adore CELLMAX Products and Substantially Similar Products within
those states,” § 11 136. Plaintiff also seeks to represent a nationwide class I_d

UHI argues that plaintiff lacks standing to bring claims under the laws of states in
which she does not reside and/or a state in which she did not purchase the products at
issue UHI MTD at 9_ Plaintiff argues that it is premature to conduct a choice-of-law
analysis at the outset of the case Opp’n to UHI at 8; see Werdebaugh v. Blue Diamond
Growers, No. 12-cv-02724-LHK, 2013 WL 5487236, at *16 (N.D. Cal. Oct. 2, 2013)
(denying the defendant’s motion to strike nationwide class claims because “there has
been no choice-of-law analysis in this case: Defendant_who bears the burden of
demonstrating that foreign law, rather than California law, should apply to class claims in

 

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a California choice-of-law analysis-provides no support for its position that foreign law
conflicts with California law, let alone that this conflict is so severe as to preclude
applying California law to Werdebaugh’s class claims.” (citation and quotation marks
omitted)).

Notwithstanding Werdebaugh, the majority of courts to consider this question
have concluded that when “a representative plaintiff is lacking for a particular state, all
claims based on that state’s laws are subject to dismissal.” In re Flash Memorv Antitrust
mg 643 F. Supp. 2d 1133, 1164 (N.D. Cal. 2009). Indeed, “[c]ourts routinely dismiss
claims where no plaintiff is alleged to reside in a state whose laws the class seeks to
enforce” Corcoran v. CVS Health Corp., 169 F. Supp. 3d 970, 990 (N.D. Cal. 2016)
(Gonzalez Rogers, J.); In re Afterrnarket Auto. Lighting Prod. Antitrust Litig, No. 09-
MDL-2007-GW-PIW, 2009 WL 9502003, at *6 (C.D. Cal. July 6, 2009) (same); In£
Ditropan XL Antitrust Litig, 529 F. Supp. 2d 1098, 1107 (N.D. Cal. 2007); Pardini v.
Unilever United States, Inc., 961 F. Supp. 2d 1048, 1061 (N.D. Cal. 2013) (“The Ninth
Circuit has held that [e]ach class member’s consumer protection claim should be
governed by the consumer protection laws of the jurisdiction in which the transaction
took place Thus, [w]here . . . a representative plaintiff is lacking for a particular state, all
claims based on that state’s laws are subject to dismissal Here, there is only one named
plaintiff and she has not alleged that she purchased [the product] outside of California.
Thus, Plaintiff does not have standing to assert a claim under the consumer protection
laws of the other states named in the Complaint. This is a pleading defect amenable to
determination prior to a motion for class certification” (citation and quotation marks
omitted); In re Grar)hics Processing Units Antitrust Litig, 527 F. Supp. 2d 1011, 1026
(N.D. Cal. 2007) (“A class cannot assert a claim on behalf of an individual that they
cannot represent.”). In addition, the court can “address[] the issue of standing before it
addresse[s] the issue of class certification.” Easter v. Am. W. Fin., 381 F.3d 948, 962
(9th Cir. 2004)

 

 

 

Accordingly, the Court GRANTS UHI’s motion and DISMISSES without
prejudice plaintiff s claims that are based on laws of states other than California and New
Jersey.

 

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4. Whether Plaintiff Pleads her Fraud-Based Claims with
Particularity

UHI requests that the Court dismiss plaintiffs fraud-based claims on the basis that
plaintiff has failed to plead those claims with sufficient particularity pursuant to Federal
Rule of Procedure 9(b). UHI MTD at 11.

The Court finds that following claims are based in fraud: Claim 1 for intentional
fraud and deceit; Claim 2 for fraud by omissions/suppression of facts; Claim 4 for
rescission of purchase contracts based on fraudulent inducement; Claim 11 for violations
of the CLRA; Claim 12 for violations of the FAL; Claim 13 for violations of the UCL;
and Claim 14 for violations of the CFA. See Kearns v. Ford Motor Co., 567 F.3d 1120,
1125 (9th Cir. 2009) (where a plaintiff “allege[s] a unified course of fraudulent conduct
and rel[ies] entirely on that course of conduct as the basis of that claim[,] . . . the claim is
said to be ‘grounded in fraud’ or to ‘sound in fraud,’ and the pleading . . _ as a whole must
satisfy the particularity requirement of Rule 9(b).”); In re Sonv Gaming Networks &
Customer Data Sec. Breach Litig, 903 F. Supp. 2d 942, 953-54 (S.D. Cal. 2012)
(“Regardless of the title given to a particular claim, allegations grounded in fraud are
subject to Rule 9(b)’s pleading requirements.”); Mickens v. Ford Motor Co., 900 F. Supp.
2d 427, 435 (D.N.J. 2012) (“Federal Rule of Civil Procedure 9(b) imposes a heightened
pleading requirement for allegations of fraud, including CFA claims, over and above that
required by Rule 8(a).”). However, Rule 9(b) does not apply to the TCCWNA. §
Mladenov v. Wegmans Food Markets, Inc., 124 F. Supp. 3d 360, 372 (D.N.J. 2015)
(applying Rule 9(b) to plaintiffs’ CFA claim, but not to their TCCWNA claim); Mattson
v. Aetna Life Ins. Co., 124 F. Supp. 3d 381 (D.N.J. 2015) (same), affd, 653 F. App’x
145 (3d Cir. 2016); Motwani v. Marina Dist. Dev. Co., LLC, No. 15-cv-2069-JLL, 2015
WL 3448171, at *3 (D.N.J. May 29, 2015) (same).2

 

 

 

 

 

2 With respect to Claim 3 for negligent misrepresentation the question of
“[w]hether Rule 9(b) applies to claims of negligent misrepresentation is an issue that has
divided the Circuit courts” and “similarly divides the California district courts” Cutler v.
Rancher Energv CorD., No. 13-cv-906-DOC, 2014 WL 1153054, at *3 (C.D. Cal. Mar.
11, 2014). “[M]ost district courts in California hold that it does.” Gilmore v. Wells
Fargo Bank N.A., 75 F. Supp. 3d 1255, 1269 (N.D. Cal. 2014) (quotation marks omitted)
(collecting cases). Nonetheless, as described below, the Court concludes that plaintiffs

 

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Because plaintiffs claims sound in fraud, plaintiff must comply with the
heightened pleading standard of Federal Rule of Civil Procedure 9(b), which requires that
the circumstances constituting a claim for fraud be pled with particularity Fed. R. Civ.
P. 9(b). “It is established law, in this circuit and elsewhere, that Rule 9(b)’s particularity
requirement applies to state-law causes of action.” Vess v. Ciba-Geigv Corp. USA, 317
F.3d 1097, 1103 (9th Cir. 2003). To satisfy Rule 9(b), a plaintiff must “identify the ‘who,
what, when, where and how of the misconduct charged,’ as well as ‘what is false or
misleading about [the purportedly fraudulent conduct], and why it is false.” Cafasso ex
rel. United States v. Gen. Dynamics C4 Sys, Inc., 637 F.3d 1047, 1055 (9th Cir. 2011)
(quoting Ebeid ex rel. United States v. Lungwitz, 616 F.3d 993, 998 (9th Cir. 2010)).

 

 

 

 

UHI argues that plaintiffs FAC provides “little detail and fails to plead who made
the allegedly false representations, whether the representations were made with
knowledge of their falsity, when Plaintiff read or heard the representations, and how
Plaintiff s reliance on them was justifiable” UHI MTD at 13. The Court disagrees
With respect to when plaintiff heard the representations, plaintiff alleges that, during her
visit to defendants’ retail store “in or around June of 2014,” she “read and relied on
statements made on the packaging of the products and on statements that were made on
Defendants’ website, adorecosmetics.com, which was shown to Plaintiff Mollicone by
one of Defendants’ sales representative from one of Defendants’ in-store computers.”
FAC 1111 106, 108. With respect to UHI’s knowledge of the falsity of the representations
plaintiff avers: “Defendants were constructively and actively aware that the Products
were ineffective for the advertised use Nevertheless, Defendants continued to sell the
Adore Products.” I_d 11 112. With respect to who made the representations plaintiff
contends that defendants include the alleged misrepresentations on their product labels,
website, social media pages, YouTube videos, and their brochure I_d 1111 30-40; 90-101.
With respect to whether plaintiffs reliance on the representations was justifiable plaintiff
alleges that defendants represent that the plant stem cell formula is “proven” to restore
youthful appearance and that defendants purport to base that assertion in scientific
research I_d 1111 33-45; 92-100. With respect to what is false about UHI’s conduct and
why, plaintiff alleges that academics, doctors, and industry professionals agree that stem-
cell related cosmetic technology does not work. I_d 1111 52-61. Plaintiff further alleges
that the research director of Mibelle has conceded that the anti-aging benefit of
PhytoCellTec could not be confirmed in clinical trial. Ld. 11 14. The Court therefore finds

 

allegations satisfy the heightened pleading standard of Rule 9(b). Therefore, the Court
need not resolve whether a negligent misrepresentation claim must satisfy Rule 9(b).

 

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that plaintiff has pleaded her fraud-based claims with sufficient particularity
Accordingly, the Court DENIES UHI’s motion to dismiss plaintiffs fraud-based claims

5. Whether Plaintiff’s Fraud-Based Claims Fail because they Arise
from the Same Facts as Plaintifi"s Breach of Contract Claim

UHI argues that plaintiffs fraud-based claims failed because they are based on the
same set of facts as plaintiff s breach of contract claim. UHI MTD at 14-15. However,
UHI does not cite any authority that directly supports this proposition Moreover, the fact
that a claim may be “duplicative or superfluous to” another of plaintiff s claims “is not
grounds for dismissal.” Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 762 (9th Cir.
2015); see also Fed. R. Civ_ P_ 8(d)(2) (permitting pleadings in the alternative).
Accordingly, the Court DENIES UHI’s motion to dismiss plaintiffs fraud-based claims

 

6. Lack of Substantiation and Plaintiff’s CLRA, UCL, FAL, and
CFA Claims

UHI argues that plaintiffs CLRA, UCL, FAL, and CFA claims fail because
plaintiffs allegations only support a claim for lack of substantiation, which is not
actionable by a private plaintiff UHI MTD at 15.

“Courts have been careful to distinguish between allegations that a defendant’s
advertising claims are actually false and allegations that such claims lack substantiation.”
In re Clorox Consumer Litig, 894 F. Supp. 2d 1224, 1232 (N.D. Cal. 2012). Under
California and New Jersey law, “[p]rivate plaintiffs are not authorized to demand
substantiation for advertising claims.” Nat’l Council Against Health Fraud, Inc. v. King
Bio Pharm. Inc., 107 Cal. App. 4th 1336, 1345 (2003); Scheuerman v. Nestle Healthcare
Nutrition Inc., No. 10-cv-3684-FSH-PS, 2012 WL 2916827, at *6 (D.N.J. July 17, 2012)
(“[T]he case law is clear_and Plaintiffs do not dispute_that prior substantiation claims
are not cognizable under the NJCFA, UCL, FAL, or CLRA.”); Bronson v. Johnson &
Johnson Inc., No. l2-cv-04184-CRB, 2013 WL 1629191, at *8 (N.D. Cal. Apr. 16,
2013) (“Claims that rest on a lack of substantiation, instead of provable falsehood, are not
cognizable under the California consumer protection laws”); Nilon v. Nat-
Immunogenics Co;p., No_ 3:12-cv-930-LAB, 2013 WL 5462288, at *1 (S.D. Cal. Sept.
30, 2013) (“[C]ourts have held that private litigants can’t bring ‘lack of substantiation’
cases under the UCL and CLRA. It is one thing for a plaintiff to say a certain
representation is actually untrue or misleading; that case passes go. It is another thing,

 

 

 

 

 

 

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however, for a plaintiff to say that a certain representation hasn’t been shown to be true;
that case does not pass go.”).

Plaintiff does not merely allege that defendants’ representations about the anti-
aging benefits of the Adore Products are inconclusive or lack scientific evidence Rather,
plaintiff contends that defendants’ representations are false For example, she avers that
the ingredient list on the Adore Products falsely claims that the products contain actual
stem cells, but that the process of preparing PhytoCellTec necessarily results in an
ingredient in which there are no living plant stem cells FAC 1111 63, 65. As a result,
plaintiff avers that “[d]efendants’ representations that the Adore Products somehow
contain ‘Plant Stem Cells’ that can interact with human stern cells to provide anti-aging
benefits is patently false.” I_d 11 69. As a result, the Court finds that plaintiff has alleged
facts “sufficient _ . . to show that [UI-II]’s advertising claims with respect to [the Adore
Products] are actually false; not simply that they are not backed up by scientific
evidence” Fral_<er v. Baver Corn., No. 08-cv-1564-AWI-GSA, 2009 WL 5865687, at *8
(E.D. Cal. Oct. 6, 2009); Rikos v. Procter & Gamble Co_, 782 F. Supp. 2d 522, 528-29
(S.D. Ohio 2011) (“[i]n a false advertising case, plaintiff must plead and prove that the
advertising statements are ‘false or misleading’_which is exactly what Plaintiff pleads
Accordingly, this Court declines to find that Plaintiff s complaint was filed under an
alleged ‘lack of scientific substantiation’ theory.” (citation omitted) (interpreting
California law)_; c_f. Aloudi v. lntramedic Research Grp., LLC, No. 15-cv-882-HSG, 2015
WL 4148381, at *4 (N.D. Cal. July 9, 2015) (finding that plaintiffs lack of substantiation
allegations could not support his UCL, FAL, or CLRA claims where the “[p]laintiff
dedicated the bulk of his opposition brief to arguing that because Defendant’s Product
representations constitute ‘establishment claims,’ Plaintiff may ‘affirmatively prove[ ]
[them] to be false by demonstrating the absence or inadequacy of the establishing tests.”).

 

 

Accordingly, to the extent UHI requests that the Court dismiss plaintiffs CLRA,
UCL, FAL, and CFA claims on the grounds that plaintiff only alleges lack of
substantiation, the Court DENIES UHI’s motion

7. Plaintiff’s Magnuson-Moss Warranty Act Claim

UHI argues that plaintiff many not raise a claim under the MMWA because the
Adore Products are subject to a separate regulatory scheme UHI MTD at 18_ The Court
agrees

 

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The MMWA is “inapplicable to any written warranty the making or content of
which is otherwise governed by Federal law.” 15 U.S.C_ § 2311(d). As plaintiff
concedes, the cosmetics at issue here are subject to the FDCA. FAC 1111 70-83. Where
the FDCA governs the product at issue, a plaintiff may not state a claim under the
MMWA. See Bates v. Gen. Nutrition Centers, Inc., 897 F. Supp. 2d 1000, 1002 (C.D.
Cal. 2012) (“Defendants are correct that the Magnuson-Moss Warranty Act claim should
be dismissed because the Food, Drug, and Cosmetic Act governs written warranties on
the labeling of dietary supplements Other courts have followed the same language from
the Magnuson-Moss Warranty Act and dismissed such claims relating to the labeling of
products that the Food, Drug, and Cosmetic Act regulates”); Hairston v. S. Beach
Beverage Co., No. l2-cv-1429-JFW-DTB, 2012 WL 1893818, at *5 (C.D. Cal. May 18,
2012) (concluding that the FDCA and FDA labeling regulations made the MMWA
inapplicable); Kanter v. Wamer-Lambert Co., 99 Cal. App. 4th 780, 797 (2002).

Accordingly, the Court GRANTS UHI’s motion to dismiss plaintiffs MMWA
claim and DISMISSES the lvfMWA claim without prejudice

8. Claims Predicated on FDA Warning Letters

Plaintiff alleges violations of the FDCA based on allegations that the products are
misbranded and are unlawfully sold as unapproved drugs FAC 1111 81_82. Plaintiff
supports these allegations, in part, with FDA letters sent to third parties I_d 70-71. UHI
argues that plaintiff may not raise claims based on these alleged violations of the FDCA
pursuant to the primary jurisdiction doctrine UHI MTD at 19. “The primary jurisdiction
doctrine allows courts to stay proceedings or to dismiss a complaint without prejudice
pending the resolution of an issue within the special competence of an administrative
agency.” Lark v. Time Warner Cable, 523 F.3d 1110, 1114 (9th Cir. 2008). UHI
contends that resolving plaintiffs claims regarding the alleged violations of the FDCA
would require the Court the decide an issue committed to the FDA’s expertise UHI
MTD at 19. UHI further argues that the two FDA warning letters are not a basis on
which plaintiff can sue because they do not involve the Adore Products and a warning
letter is not a final action I_d

The Court is unpersuaded that the primary jurisdiction doctrine applies to
plaintiffs claims to the extent they are predicated on allegations that defendants’ labels
are misleading “Not every case that implicates the expertise of federal agencies warrants
invocation of primary jurisdiction Rather, the doctrine is reserved for a limited set of

 

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circumstances that requires resolution of an issue of first impression, or of a particularly
complicated issue that Congress has committed to a regulatory agency.” Astiana, 783
F.3d at 760 (quotation marks omitted). Whether or not the labels on UHI’s products are
“false or misleading” pursuant to 21 U.S.C_ §§ 352 and 362(a) is not the kind of
“particularly complicated issue” that is uniquely within the FDA’s competence §
Jones v. ConAgra Foods, Inc., 912 F. Supp. 2d 889, 898-99 (N.D. Cal. 2012) (“[T]the
Court concludes that this case is far less about science than it is about whether a label is
misleading Plaintiff s allegations of deceptive labeling do not require the expertise of
the FDA to be resolved in the courts, as every day courts decide whether conduct is
misleading” (citations and quotation marks omitted)); Chacanaca v. Quaker Oats Co.,
752 F. Supp. 2d llll, 1124 (N.D. Cal. 2010) (concluding that the question of whether
labels on granola bars are misleading “do[es] not entail technical questions or require
agency expertise”).

 

 

However, the Court finds that the primary jurisdiction doctrine applies to
plaintiffs claims to the extent they are predicated on allegations that defendants are
marketing unapproved new drugs unlawfully, § FAC 11 82. See Weinberger v. Bentex
Pharm. Inc., 412 U.S. 645, 653 (1973) (“We think that it is implicit in the regulatory
scheme, not spelled out in haec verba, that FDA has jurisdiction to decide with
administrative finality, subject to the types of judicial review provided, the ‘new drug’
status of individual drugs or classes of drugs.”); Carnohan v. United States, 616 F.2d
1120, 1122 (9th Cir. 1980) (“The FDA and the California State Department of Health
Services have primary jurisdiction to determine whether persons may traffic in new
drugs”).

 

 

 

Therefore, the Court DENIES UHI’s motion to dismiss plaintiffs claims that are
predicated on allegations that defendants’ labels are misleading However, the Court
GRANTS UHI’s motion to dismiss plaintiffs claims that are predicated on allegations
that defendants are marketing unapproved new drugs unlawfully, and DISMISSES any
such claims without prejudice

9. Plaintiff’s Claim for Declaratory Relief

Plaintiff seeks a declaratory judgment that there are no enforceable purchase
contracts between plaintiff and class members and defendants because: (a) consent to
enter into any agreements for purchase of the Adore Products was induced by fraud;
(b) defendants’ marketing and sales of the Adore Products were unlawful under the

 

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FDCA and corresponding state laws like California’s Sherman Law; (c) defendants’ sales
of the Adore Products violates public policy and the public interest would be prejudiced
if the contracts were allow to stand FAC 11 206. Plaintiff also seeks a declaration that
defendants have been unjustly enriched Ld. UHI argues that plaintiff s claim for
declaratory relief fails because it is duplicative UHI MTD at 20.

When an action for declaratory relief is duplicative of the relief sought under
another cause of action, dismissal of the declaratory relief claim is proper. Swartz v.
KPMG LLP, 476 F.3d 756, 766 (9th Cir. 2007) (per curiam) (affirming the district
court’s dismissal of a request for a declaration as to defendants’ liability for damages
sought under other causes of action)_; see also Mangindin v. Washington Mut. Bank, 637
F. Supp. 2d 700, 707 (N.D. Cal. 2009) (“A claim for declaratory relief is unnecessary
where an adequate remedy exists under some other cause of action”); Rhodes v.
Robinson, 408 F.3d 559, 566 n.8 (9th Cir. 2005) (“[B]ecause his claim for damages
necessarily entails a determination whether the officers’ alleged conduct violated his
rights, his separate request for declaratory relief is subsumed by his damages action.”)_
“The court can identify no present legal controversy between the parties that requires
declaratory relief, especially given that the declaratory judgment claim duplicates
[plaintiffs] other causes of action.” Schwartz v. U.S. Bank Nat. Ass’n, No. ll-cv-
08754-MMM-JCG, 2012 WL 10423214, at *16 (C.D. Cal. Aug. 3, 2012). Therefore, the
Court GRANTS UHI’s motion to dismiss plaintiffs claim for declaratory relief and
DISMISSES that claim without prejudice

 

 

10. Plaintiff’s Unjust Enrichment Claim

UHI argues that plaintiffs claim for unjust enrichment fails because plaintiff fails
to plead that the product that she received was of any lesser value than those for which
she paid. UHI MTD at 21_; see Mvers-Armstrong v. Actavis Totowa, LLC, 382 F. App’x
545, 548 (9th Cir. 2010) (“[B]ecause Myers-Armstrong fails to plead that the drugs she
received were of any lesser value than those for which she paid, she fails to sufficiently
plead an entitlement to relief under quasi-contract law.”).

 

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While “there is not a standalone cause of action for ‘unjust enrichment, unjust
enrichment and restitution . . . describe the theory underlying a claim that a defendant has
been unjustly conferred a benefit ‘through mistake, fraud, coercion, or request_”’
Astiana, 783 F.3d at 762. “The elements of an unjust enrichment claim are the receipt of
a benefit and [the] unjust retention of the benefit at the expense of another.” Peterson v.

 

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Cellco P’ship, 164 Cal. App. 4th 1583, 1593 (2008) (quotation marks omitted); Vega v.
chen Fin. Co;p., No. 2:14-cv-04408-ODW, 2015 WL 1383241, at *15 (C.D. Cal. Mar.
24, 2015) (same). Plaintiff alleges that defendants charged a higher price for the Adore
Products on the basis of their wrongful acts and omissions FAC 11 197; see also § 11 17
(“Defendants charge a super-premium price for what is really a simple and low-cost
cream.” (quotation marks omitted)). As a result, plaintiff avers that it would be
inequitable for defendants to retain those unjustly obtained gains § 11 199. The Court
finds that plaintiff has adequately pleaded the elements of unjust enrichment Therefore,
the Court DENIES UHI’s motion to dismiss plaintiffs unjust enrichment claim.

V. CONCLUSION

In accordance with the foregoing the Court:

0 GRANTS Segev’s motion to dismiss the FAC and DISMISSES plaintiffs claims
against Segev without prejudice;

0 DENIES UHI’s motion to dismiss plaintiffs claims for injunctive relief;

0 DENIES UHI’s motion to dismiss plaintiff s claims pertaining to any product
other than the CELLMAX kit;

0 GRANTS UHI’s motion and DISMISSES without prejudice plaintiffs claims that
are based on laws other than those of California and New Jersey;

0 DENIES UHI’s motion to dismiss plaintiffs fraud-based claims;

0 To the extent UHI requests that the Court dismiss plaintiffs CLRA, UCL, FAL,
and CFA claims on the grounds that plaintiff only alleges lack of substantiation,
the Court DENIES UHI’s motion;

0 GRANTS UHI’s motion to dismiss plaintiffs MMWA claim and DISMISSES
that claim without prejudice;

. DENIES UHI’s motion to dismiss plaintiffs claims that are predicated on
allegations that defendants’ labels are misleading;

o GRANTS UHI’s motion to dismiss plaintiffs claims that are predicated on
allegations that defendants are marketing unapproved new drugs unlawfully, and
DISMISSES any such claims without prejudice;

0 GRANTS UHI’s motion to dismiss plaintiffs claim for declaratory relief and
DISl\/IISSES that claim without prejudice; and

0 DENIES UHI’s motion to dismiss plaintiffs unjust enrichment claim.

 

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Plaintiff shall have twenty one (21) days nom the date of this order to file a
second amended complaint addressing the deficiencies identified herein

IT IS SO ORDERED.

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